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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                       )
                                                )
       Plaintiff,                               )
                                                )
v.                                              )   No. 4:10CR536 HEA
                                                )
JOSEPH MCGEE,                                   )
                                                )
       Defendant.                               )

                                              ORDER

       IT IS HEREBY ORDERED that a change of plea hearing is set in this matter for

Thursday, January 20, 2011, at 1:30 p.m. in the courtroom of the undersigned.

       Dated this 6th day of January, 2011.




                                              ________________________________
                                                 HENRY EDWARD AUTREY
                                               UNITED STATES DISTRICT JUDGE
